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                   EXHIBIT 3
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                                            SUPPLY AGREEMENT

              This Agreement (the "Agreement") is made as of the 15th day of April
        2001, by and between Johnson & Johnson Consumer Companies, Inc. ("Buyer"),
        and Luzenac America, Inc. ("Seller").

              WHEREAS, Seller is in the business of making the product described in
        Annex A to the Agreement (the "Products") and Buyer would like to purchase
        Products from Seller pursuant to the terms of this Agreement.

              NOW, THEREFORE, in consideration of the mutual promises, covenants
        and agreements hereinafter set forth, the parties hereto agree as follows:

                   1.        Purchase and Sale of Products.

                   (a)       During the term of this Agreement, Seller shall supply Buyer with
                             those quantities of Products as ordered by Buyer pursuant to this
                             Agreement and Buyer shall purchase from Seller 100% of Buyer's
                             requirements for Products containing cosmetic grade talc to be
                             manufactured in ·Royston, Georgia. Nothing set forth in this
                             Agreement shall obligate Buyer to purchase any specific minimum
                             quantity of Products from Seller.


  •                (b)       The Products shall conform to, and shall be manufactured in
                             accordance with, the specifications as set forth in Annex A attached
                             to this Agreement, and as the same may subsequently be mutually
                             agreed to in writing by the parties hereto or prescribed by any local,
                             state or federal regulatory agency (collectively, the "Product
                             Specifications"). From time to time during the term of this
                             Agreement, either party may submit written proposals for the
                             adoption or development of improvements relating to the Products.
                             If the parties mutually determine to pursue such improvements they
                             shall mutually agree upon modifications to the Product
                             Specifications to reflect such improvements as well as revisions to
                             the price to be charged for the Products.

                   (c)       The initial price for Products ordered by Buyer during the first
                             twelve months of this Agreement shall be as set forth in Annex B
                             attached to this Agreement. On April 15, 2002 and April 15, 2003,
                             the price for Products prevailing during the Contract Year (as such
                             term is defined in Section 22 (b) below) just ended shall be
                             increased or decreased for the Contract Year commencing on such
                             dates in accordance with the proportionate increase or decrease in
                             the Producer Price Index for Nonmetallic Mineral Products,



 •                           Minerals and earths ground or treated, Series ID PCU3295#1 (the
                             "Index"), published by the United States Department of Labor,
                             Bureau of Labor Statistics (the "BLS"). In the event that this series




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•               is no longer published or is otherwise unavailable, then Series ID
                PCU3295# shall be used. The proportionate increase or decrease
                in the Index shall be determined by comparing the average of the
                final or preliminary Index data for the most recent January,
                February and March obtained from the BLS website during the
                second week of April to the average of the final Index data for
                January, February and March of the year prior to the Contract Year
                just ended. Index data used for the purposes of this Section 1(c)
                shall not be seasonally adjusted. For greater certainty, but by way
                of illustration only, a sample calculation for adjustment of the
                purchase price is set forth in Annex B attached to this agreement.

          (d)   The prices charged by Seller to Buyer as set forth in Annex B, or as
                may subsequently be determined, shall include all costs for F.O.B.
                Ludlow, Vermont (the "Shipping Point"). The risk of loss with
                respect to Products shall pass to Buyer upon notification to Seller
                by Buyer of acceptable microbiological testing results from Product
                samples obtained during railcar loading, and Seller's release of said
                railcar to the rail carrier.

          (e)   In addition to any price increases or decreases determined
                pursuant to this Agreement, Seller shall actively investigate and



•               present to Buyer, cost savings opportunities having the potential to
                reduce either prices charged by Seller to Buyer or Buyer's
                processing costs by 4% per year. Nothing set forth herein shall
                obligate either party to implement any cost savings opportunity
                presented to Buyer.

          2.    Forecasts; Orders.

          (a)   Buyer shall provide Seller electronic access to a non-binding
                forecast of Buyer's expected requirements for Products during the
                following quarter. Buyer shall place binding orders for Products by
                written or e.lectronic purchase order (or by any means agreed to by
                the parties) to Seller, which shall be placed at least 18 calendar
                days prior to the desired date of shipment.

          (b)   To the extent of any conflict or inconsistency between this
                Agreement and any purchase order, purchase order release,
                confirmation, acceptance of any similar document, the terms of this
                Agreement shall govern.

          3.    Shipment: Inventory: Invoices: Payment.




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          (a)   All charges for packing, hauling, storage, bar coding, transportation
                to and loading at the Shipping Point are included in the purchase
                price unless otherwise agreed to by the parties. All shipments must




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•         (b)
                be accompanied by a packing slip which describes the Products,
                states the item number, purchase order number and shows the
                shipment's destination.

                Seller shall invoice Buyer within 48 hours following shipment of
                Products to Buyer. Buyer shall pay Seller the purchase price set
                forth on such invoices not later than thirty (30) calendar days
                following the date of Seller's invoice.

          (c)   Seller will maintain inventory of Products on a first-in, first-out basis.
                At all times during the term of this Agreement, Seller shall maintain
                an adequate number of dedicated silos to ensure timely shipment
                of all Products ordered by Buyer hereunder. Seller and Buyer
                agree to cooperate to improve the process for ordering Products
                with the mutual objectives of expediting the supply process to a
                Lean Supply process and reducing inventory costs.

          (d)   In the event that Seller shall be unable or unwilling or shall fail to
                supply such Products in such quantities as Buyer shall request and
                in compliance with the shipping periods set forth herein or as
                otherwise requested by Buyer (other than as a result of a force
                majeure event as described in Section 9), then Buyer shall be



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                permitted (with no obligation or liability to Seller) to obtain Products
                from another source and such inability, unwillingness or failure to
                supply Products shall be deemed a material breach of this
                Agreement, provided, however, that Seller shall have no liability to
                Buyer in the event that Buyer shall fail to make sufficient railcars
                available to Seller for loading of any order or any portion thereof.

          4.    Product Acceptance; Corrective Actions; Assistance.

          (a)   Shipment of Products by Seller to Buyer shall constitute a
                certification by Seller that Products have been tested, and been
                found to conform fully to the Product Specifications and are free
                from defects. In the event that Buyer conducts testing on the
                Products for non-microbiological parameters, Buyer shall forward
                the results of such tests to Seller as soon as possible. In the event
                of dispute between the parties concerning conformance to any of
                Buyer's non-microbiological specifications as described in Annex A,
                Buyer shall give written notice of such dispute to Seller as soon as
                possible. Immediately after such notice, each party shall submit a
                sample of the Product to a mutually satisfactory third party
                laboratory. Seller shall also submit to the laboratory a third
                untested, sealed portion of Product sample. Such laboratory shall



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                determine, in its judgment, whether the shipment conforms with the
                Product Specifications as evidenced by the Product sample. The
                decision of the third party laboratory shall be final, and all costs and




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•         (b)
                 expenses pertaining to such testing by the third party laboratory
                 shall be shared equally.

                 Buyer shall be responsible for conducting any microbiological
                 testing with respect to the Product. Such testing shall be
                 conducted in such manner as Buyer shall determine. Buyer
                 acknowledges that Seller shall not be conducting any
                 microbiological testing. Within 90 calendar days of execution of this
                 Agreement and biannually during the term of this Agreement, a
                 review of Product Specifications shall be completed jointly by Buyer
                 and Seller to ensure conformity.

          (c)    In the event of any non-conformance, Seller within a reasonable
                 period of time shall: (i) arrange for return to Seller or an Affiliate of
                 Seller, at Seller's sole cost and expense, such Products as are
                 finally determined to be out of conformance with the Product
                 Specifications; (ii) replace such Products as are finally determined
                 to be out of conformance with the Product Specifications; and (iii)
                 compensate Buyer for the freight costs, including cleaning and
                 sanitization as required of any carload rejected for nonconformance
                 in accordance with this Section 4.




•         (d)    Any shipment of Products for which Buyer shall not submit a Claim
                 within sixty (60) calendar days of receipt shall be deemed
                 accepted. Upon acceptance, Buyer shall release Seller from all
                 Claims for non-conformity or defects except Claims for latent
                 defects which are not reasonably detectable at the time of
                 acceptance.

           (e)   In the event any governmental agency having jurisdiction shall
                 request or order, or if Buyer shall determine to undertake, any ·
                 corrective action with respect to Products supplied hereunder,
                 including any Product recall, customer notice, restriction, change,
                 corrective action or market action or any Product change, and the
                 cause or basis of such corrective action is attributable to a breach
                 by Seller of any of its warranties, guarantees, representations,
                 obligations or covenants contained herein, then Seller shall be
                 liable, and shall reimburse Buyer for the reasonable costs of such
                 action including the cost of any Product affected thereby whether or
                 not such particular Product shall be established to be in breach of
                 any warranty by Seller hereunder provided, however, that Seller's
                 obligation to indemnify Buyer hereunder shall not exceed Twenty
                 Million Dollars ($20,000,000) in the absence of Seller's gross
                 negligence or willful misconduct, and Forty Million Dollars



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                 ($40,000,000) in the event of Seller's gross negligence or willful
                 misconduct.




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•              (f)



               5.
                     Seller will provide Buyer with all such technical assistance and
                     training as may be required by Buyer to maintain satisfactory
                     Product performance.

                     Inspection.

               Buyer shall have the right, upon reasonable notice to Seller and during
               regular business hours, to inspect and audit the facilities being used by
               Seller for production of the Products to assure compliance by Seller with
               applicable rules and regulations and with other provisions of this
               Agreement and to determine Seller's raw materials and manufacturing
               costs in connection with the Products to the extent these costs are passed
               on to Buyer. Seller shall within seven calendar days remedy any
               deficiencies which may be noted in any such audit, and the failure by
               Seller to remedy any such deficiencies within such seven day period shall
               be deemed to be a material breach of this Agreement; provided, however,
               that if such deficiency is not capable of being remedied within such seven
               (7) day period, then so long as Seller is pursuing in diligent fashion a
               commercially acceptable remedy to such deficiency it shall not be deemed
               to be a material breach. Seller acknowledges that the provisions of this
               Article granting Buyer certain audit rights shall in no way relieve Seller of
               its obligations under this Agreement, nor shall such provisions require



•              Buyer to conduct any such audits .

               6.

               (a)
                      Warranty.

                      Seller represents and warrants to Buyer that all Products sold by
                      Seller shall (i) conform to the quality standards set forth in Annex A
                      and (ii) be in compliance with all applicable federal, state or
                      municipal statutes, laws, rules or regulations, including those
                      relating to the environment, food or drugs and occupational health
                      and safety. Without limiting the foregoing, Seller represents and
                      warrants that it shall comply with all present and future statutes,
                      laws, ordinances and regulations relating to the manufacture,
                      assembly and supply of the Products being provided hereunder,
                      including without limitation, those enforced by the United States
                      Food and Drug Administration (including compliance with good
                      manufacturing practices) and International Standards Organization
                      Rules 9,00 et. seq. Seller further represents and warrants to Buyer
                      that the performance of its obligations under this Agreement will not
                      result in a violation or breach of, and will not conflict with or
                      constitute a default under its Certificate of Incorporation or
                      corporate bylaws or any agreement, contract, commitment or
                      obligation to which Seller or any of its Affiliates is a party or by



•                     which it is bound. EXCEPT FOR THE WARRANTIES CONTAINED
                      IN THIS AGREEMENT, SELLER MAKES NO OTHER




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•              (b)
                         WARRANTY OF ANY KIND, EXPRESSED OR IMPLIED, IN FACT
                         OR BY LAW, WHETHER OF MERCHANTABILITY, FITNESS
                         FOR ANY PARTICULAR PURPOSE OR USE OR OTHERWISE.

                         Seller has read and understands the Johnson & Johnson Policy on
                         the Employment of Young Persons (the "Policy"). In the
                         manufacture of the Products, Seller shall employ young persons
                         only as permitted by the Policy. Seller shall permit representatives
                         of Buyer to enter Seller's premises at any reasonable time to
                         inspect relevant employment, health and safety records and to
                         observe the manufacturing process. Seller shall maintain the
                         records necessary to demonstrate compliance with the Policy and
                         shall provide to Seller a written certification of such compliance
                         annually during the term of this agreement. If Seller shall fail to
                         comply with this provision, then Buyer shall have the right to
                         terminate this agreement forthwith and without penalty.

               7.        Indemnification.

               (a)       Buyer and Seller agree that liability for damages alleged to have
                         been suffered by Buyer and Seller arising out of an alleged breach
                         of Section 6(a) or otherwise under this Agreement shall be handled



•                        as follows:

                         (i)    Seller shall indemnify Buyer for any cost, loss, damage or
                                expense suffered by Buyer which arises from: (A) the
                                Product not meeting the specifications therefor as described
                                in Annex A at the time title for such Product passed to Buyer,
                                except for the microbiological specifications set forth therein;
                                or (B) Seller failing to sample and test Products in
                                accordance with the sampling and testing methods
                                described in Annex A in the .manner practiced by Seller on
                                the date of this Agreement or as modified by the mutual
                                agreement of the parties pursuant to Section 1 (b) above;
                                provided, however, that Seller's obligation to indemnify
                                Buyer shall not exceed Twenty Million Dollars ($20,000,000)
                                in the absence of Seller's gross negligence or willful
                                misconduct, and Forty Million Dollars ($40,000,000) in the
                                event of Seller's gross negligence or willful misconduct.

                         (ii)   Seller shall be solely liable in the event that the Product
                                failed to conform to the microbiological quality standards as
                                set forth in Annex A before title to such Products passed
                                from Seller to Buyer; provided, however, that Seller's liability



•
                                pursuant to this Section 7 (a) (ii) shall be limited to
                                replacement of Products and reimbursement of certain of




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•               (iii)
                        Buyer's freight costs, including railcar cleaning and
                        sanitization, in accordance with Sections 4 (c) above.

                        Buyer shall be solely liable for, and shall indemnify Seller for
                        any cost, loss, damage or expense suffered by Seller arising
                        out of the failure of the Products to conform to the
                        microbiological quality standards established therefor, as the
                        same may be amended from time to time.

                (iv)    Excluding those matters set out in the preceding clauses (i),
                        (ii) and (iii), Seller shall indemnify, defend and hold harmless
                        Buyer and its Affiliates, and each of their respective officers,
                        directors, agents and employees from and against all
                        liabilities arising out of any violation by Seller of any law,
                        ordinance, regulation or rule or the order of any court or
                        administrative agency, and from and against all liabilities
                        arising out of any claim by an employee, agent, or contractor
                        of Seller arising in connection with this Agreement, provided
                        however, that Seller shall not indemnify Buyer for any such
                        liabilities to the extent that such liabilities arise from: (i) the
                        acts or omissions of Buyer; or (ii) the acts or omissions of
                        Seller which were directed by Buyer.


•         (b)


          8.
                The provisions of this Section 7 shall survive any termination or
                expiration of this Agreement.

                Term; Termination.

          (a)   The term of this Agreement shall be for a period of 3 years
                beginning on April 15, 2001, unless sooner terminated pursuant to
                this Agreement.

          (b)   Either party may terminate this Agreement for any reason by giving
                notice to the other party of its intent to terminate at least 365
                calendar days prior to the date on which it seeks to terminate this
                Agreement.

          (c)   This Agreement may be terminated, prior to the expiration of its
                term, upon fifteen (15) calendar days written notice by either party:
                (i) in the event that the other party hereto shall (A) apply for or
                consent to the appointment of, or the taking of possession by, a
                receiver, custodian, trustee or liquidator of itself or of all or a
                substantial part of its property, (B) make a general assignment for
                the benefit of its creditors, (C) commence a voluntary case under



•               the United States Bankruptcy Code, as now or hereafter in effect
                (the "Bankruptcy Code"), (D) file a petition seeking to take
                advantage of any law (the "Bankruptcy Laws") relating to




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•               bankruptcy, insolvency, reorganization, winding-up, or composition
                or readjustment of debts, (E) fail to controvert in a timely and
                appropriate manner, or acquiesce in writing to, any petition filed
                against it in any involuntary case under the Bankruptcy Code, or (F)
                take any corporate action for the purpose of effecting any of the
                foregoing; or (ii) if a proceeding or case shall be commenced
                against the other party hereto in any court of competent jurisdiction,
                seeking (A) its liquidation, reorganization, dissolution or winding-up,
                or the composition or readjustment of its debts, (B) the appointment
                of a trustee, receiver, custodian, liquidator or the like of the party or
                of all or any substantial part of its assets, or (C) similar relief under
                any Bankruptcy Laws, or an order, judgment or decree approving
                any of the foregoing shall be entered and continue unstayed for a
                period of 60 calendar days; or an order for relief against the other
                party hereto shall be entered in an involuntary case under the
                Bankruptcy Code.

          (d)     This Agreement may be terminated, prior to the expiration of its
                  term, by either party by giving written notice of its intent to terminate
                  and stating the grounds therefor if the other party shall materially
                  breach or materially fail in the observance or performance of any
                  representations, warranty, guarantee; covenant or obligation under



•                 this Agreement, and such breach or failure is not the result of an
                · Event of Force Majeure (as such term is defined in Section 9 ·
                  below). The party receiving the notice shall have thirty (30)
                  calendar days from the date of receipt thereof to cure the breach or
                  failure; or, in the event that such breach or failure is not reasonably
                  susceptible to cure within such time, to commence and diligently
                  pursue good faith efforts to cure such breach within such time as
                  may be reasonable in the circumstance. In the event such breach
                  or failure is cured, the notice shall be of no effect.

          (e)    Notwithstanding the termination of this Agreement for any reason,
                 each party hereto shall be entitled to recover any and all damages
                 which such party shall have sustained by reason of the breach by
                 the other party hereto of any of the terms of this Agreement.
                 Termination of this Agreement for any reason shall not release
                 either party hereto from any liability which at such time has already
                 accrued or which thereafter accrues from a breach or default prior
                 to such expiration or termination, nor affect in any way the survival
                 of any other right, duty or obligation of either party hereto which is
                 expressly stated elsewhere in this Agreement to survive such
                 termination. In the case of a termination under Section 8 (d) above,
                 the non-defaulting party may pursue any remedy available in law or



•         9.
                 in equity with respect to such breach, subject to Section 15 hereof.

                 Force Maieure.




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•         (a)    If either party is prevented from performing any of its obligations
                 hereunder due to any cause which is beyond the non-performing
                 party's reasonable control, including fire, explosion, flood, or other
                 acts of God; acts, regulations, or laws of any government; war or
                 civil commotion; strike, lock-out or labor disturbances; or failure of
                 public utilities or common carriers (a "Force Majeure Event"), such
                 non-performing party shall not be liable for breach of this
                 Agreement with respect to such non-performance to the extent any
                 such non-performance is due to a Force Majeure Event. Such non-
                 performance will be excused for three months or as long as such
                 event shall be continuing (whichever occurs sooner), provided that
                 the non-performing party give immediate written notice to the other
                 party of the Force Majeure Event. Such non-performing party shall
                 exercise all reasonable efforts to eliminate the Force Majeure Event
                 and to resume performance of its affected obligations as soon as
                 practicable.

           (b)   Notwithstanding the provisions of Section 9 (a) above, in the event
                 that due to the occurrence of an Event of Force Majeure, Seller
                 shall be unable to supply Products in such quantities as Buyer shall
                 request and in compliance with the delivery periods set forth in this



•                Agreement, Buyer shall be permitted (with no obligation to Seller) to
                 obtain Products from another source, and Buyer shall thereafter
                 have no obligation to purchase Products from Seller until any
                 contractual obligations that Buyer has assumed in connection with
                 obtaining a substitute supply of Products shall have terminated.
                 Buyer shall have no obligation to affirmatively terminate any such
                 contractual arrangements.

           (c)    In the event that such an alternative supplier is established, Seller
                  shall use its best efforts to give Buyer access to any proprietary
                  technical materials, information and techniques necessary or
                  helpful for Buyer to arrange an alternative supplier of Product, and
                 ~to provide-adv.ice and.consultation in connection therewith. The
                  provision of any proprietary information by Seller shall be subject to
                  the recipient entering into reasonable confidentiality obligations with
                  Seller as well as a commitment by the recipient that such
                  proprietary information shall only be used for purposes of providing
                  substitute Product to Buyer.

           10.   Confidentiality.

           As used herein, "Confidential Information" shall include all information



•
           given to, or otherwise acquired by a party hereto, relating to the other
           party's business or affairs, including without limitation: (i) information
           regarding any of the products of a party or the design or manufacture of




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•          such products or the packaging thereof; (ii) information regarding
           advertising, distribution , marketing or strategic plans; (iii) information ·
           regarding costs, productivity or technological advances; (iv) any designs,
           specifications, blueprints or patterns ;or (v) the terms and conditions of this
           Agreement; or (vi) any other information received by a party in connection
           with its performance of the obligations contemplated under this
           Agreement. Neither party shall use or disclose, but shall insure that its
           employees, officers and agents shall not use or disclose (except, in either
           case, to comply with a party's obligations under this Agreement or the
           rules of any stock exchange), any Confidential Information to third parties.
           Upon the termination or expiration of this Agreement each party shall
           return to the other party all Confidential Information in written form. This
           Section 10 shall survive the termination or expiration of this Agreement for
           a period of five (5) years. Confidential Information shall not include
           information that (vii) was already known to the other party at the time of its
           receipt thereof, as evidenced by competent evidence, (viii) is disclosed
           after its receipt thereof by a third party who has a right to make such
           disclosure without violating any obligation of confidentiality, (ix) is
           independently developed by a party or (x) is or becomes part of the public
           domain through no fault of any party hereto. For purposes of this Section
            10, a reference to a "party" or to Buyer or Seller shall include Affiliates of
           the referenced party .


•          11.    Compliance with Certain Laws.

            Seller agrees to comply with the applicable provisions of any federal
            (United States or otherwise) or state law and all executive orders, rules
            and regulations issued thereunder, whether now or hereafter in force,
            including Executive Order 11246, as amended; Chapter 60 of Title 41 of
            the Code of Federal Regulations, as amended, prohibiting discrimination
            against any employee or applicant for employment because of race, color,
            religion, sex or national origin; Section 60-7 41.1 of Chapter 60 of Title 41
            of the Code of Federal Regulations, as amended, prohibiting
           .discrimination against any employee or applicant for employment because
            of physical or mental handicap; Section 60.250.4 of Chapter 60 of Title 41
            of the Code of Federal Regulations, as amended, providing for the
            employment of disabled veterans and veterans of the Vietnam era;
            Chapter 1 of Title 48 of the Code of Federal Regulations, as amended,
            pertaining to the Federal Acquisition Regulations; Sections 6, 7 and 12 of
            the Fair Labor Standards Act, as amended, and the regulations and orders
            of the United States Department of Labor promulgated in connection
            therewith; and any provisions, representations or agreements required
            thereby to be included in this Agreement are hereby incorporated by
            reference. If any Products are ordered by Buyer under U.S. government


•           contracts, Seller agrees that all applicable federal statutes and regulations




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•          applying to Buyer as contractors are accepted and binding upon Seller
           insofar as Seller may be deemed a subcontractor.

           12.    Insurance.

           Seller agrees to procure and maintain in full force and effect during the
           term of this Agreement valid and collectible insurance policies in
           connection with its activities as contemplated hereby which policies shall
           provide for the type of insurance and amount of coverage described in
           Annex C. Upon Buyer's request, Seller shall provide to Buyer a certificate
           of coverage or other written evidence reasonably satisfactory to Buyer of
           such insurance coverage.

           13.    Relationship of the Parties.

           The relationship of Buyer and Seller established by this Agreement is that
           of independent contractors, and nothing contained herein shall be
           construed to: (i) give either party any right or authority to create or assume
           any obligation of any kind on behalf of the other or; (ii) constitute the
           parties as partners, joint ventures, co-owners or otherwise as participants
           in a joint or common undertaking .



•          14.    Publicity.

           Neither party shall originate any publicity, news release, or other
           announcement, written or oral, whether to the public, the press, the trade,
           Buyer's or Seller's customers or otherwise, relating to this Agreement, or
           to performance hereunder, or to the existence of an arrangement between
           the parties, without the prior written approval of the other party. Neither
           party shall use the name of the other party for advertising or promotional
           purposes without the prior written consent of such party.

           15.    Construction.

           This Agreement shall be governed-by, and shall be construed in
           accordance with, the laws of the State of New Jersey. Any controversy or
           claim arising out of or relating to this Agreement, or the parties' decision to
           enter into this Agreement, or the breach thereof, shall be settled by
           arbitration in accordance with the Commercial Arbitration Rules of the
           American Arbitration Association, and judgment upon the award rendered
           by the arbitrator(s) may be entered in any court having jurisdiction thereof.
           The arbitration shall be held in New Jersey and arbitrators shall apply the
           substantive law of New Jersey except that the interpretation and
           enforcement of this arbitration provision shall be governed by the Federal


•          Arbitration Act. The arbitrators shall not award any of the parties punitive
           damages and the parties shall be deemed to have waived any right to




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•          such damages. This Section 15 shall survive any termination of this
           Agreement.

           16.    Entire Agreement.

           It is the mutual desire and intent of the parties to provide certainty as to
           their respective future rights and remedies against each other by defining
           the extent of their mutual undertakings as provided herein. The parties
           have, in this Agreement, incorporated all representations, warranties,
           covenants, commitments and understandings on which they have relied in
           entering into this Agreement, and, except as provided for herein, neither
           party makes any covenant or other commitment to the other concerning its
           future action. Accordingly, this Agreement and the Annexes attached
           hereto, which are by this reference incorporated herein: (i) constitute the
           entire agreement and understanding between the parties with respect to
           the subject matter hereof and there are no promises, representations,
            conditions, provision or terms related thereto other than those set forth in
           this Agreement, and (ii) supersede all previous understandings,
            agreements and representations between the parties, whether written or
            oral. No modification, change or amendment to this Agreement shall be
            effective unless in writing signed by each of the parties hereto.
            Notwithstanding the foregoing and for clarification purposes, to the extent



•           that any of the provisions of the previous supply agreement between
            Buyer and Seller for the Product survive the expiration and/or termination
            of such earlier supply agreement, then those surviving terms or provisions
            shall continue in effect as provided for in such earlier supply agreement.

           17.     Headings.

           The headings used herein have been inserted for convenience only and
           shall not affect the interpretation of this Agreement.

           18.     Notices.

           All notices and other communications hereunder shall be in writing, and
           shall be: (i) delivered personally; (ii) mailed by certified or registered U.S.
           mail, return receipt requested, postage prepaid; or (iii) sent by Federal
           Express or another nationally recognized courier service (billed to sender),
           to the parties at the following addresses:             ·

           If to Seller:   President
                           Luzenac America, Inc.
                           9000 East Nichols Avenue
                           Englewood, Colorado 80112



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•         If to Buyer:   Purchasing Manager
                         Johnson & Johnson
                         Consumer Products Companies
                         Shared Services Purchasing
                         P. 0. Box 587
                         545 Old Elbert Road
                         Royston, Georgia 30662

          or to such other place as either party may designate by written notice to
          the other. Such notices shall be deemed given (i) upon personal delivery;
          (ii) three business days after such deposit in the U.S. mail; or (iii) upon
          delivery by such courier service.

           19.    Failure to Exercise.

           The failure of either party to enforce at any time for any period any
           provision hereof shall not be construed to be a waiver of such provision or
           of the right of such party thereafter to enforce each such provision, nor
           shall any single or partial exercise of any right or remedy hereunder
           preclude any other or further exercise thereof or the exercise of any other
           right or remedy. Remedies provided herein are cumulative and not
           exclusive of any remedies provided at law .



•          20.    Assignment.

           This Agreement may not be assigned by either party without the prior
           written consent of the other, except that Buyer and Seller may assign their
           rights and/or obligations hereunder to any of their respective Affiliates, and
           except that Buyer may assign its rights and/or obligations hereunder to
           any successor to all or substantially all of Buyer's assets which relate to
           the Product. Subject to the foregoing sentence, this Agreement shall bind
           and inure to the benefit of the parties hereto and their respective
           successors and assigns.

           21.     Severability.

           Any term or provision of this Agreement which is invalid or unenforceable
           in any jurisdiction shall, to the extent the economic benefits conferred by
           this Agreement to both parties remain substantially unimpaired, be
           ineffective to the extent of such invalidity or unenforceability without
           rendering invalid or unenforceable the remaining terms and provisions of
           this Agreement or affecting the validity or enforceability of any of the terms
           or provisions of this Agreement in any other jurisdiction.




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           22.     Definitions .




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•         (a)       For purposes of this agreement, an "Affiliate" of a party to this
                    Agreement shall mean any corporation or partnership or other
                    entity which directly or indirectly controls, is controlled by or is
                    under common control with such party. "Control" shall mean the
                    legal power to direct or cause the direction of the general
                    management or partners of such entity whether through the
                    ownership of voting securities, by contract or otherwise. "Affiliate"
                    shall also include any party manufacturing talc-containing body
                    powders for, on behalf of, or under license or other authority of
                    Buyer or Buyer's Affiliates.

           (b)      "Contract Year" shall mean the twelve-month period commencing
                    on April 15th of any year during the term of this Agreement and
                    concluding on April 141h of the next succeeding year.

           23.      Equipment.

           (a)      Buyer has made and may make available certain equipment,
                    such as railcars (the "Equipment") for Seller to use in
                    manufacturing the Products or otherwise preparing the Products for
                    delivery. Seller shall have no ownership or leasehold interest of
                    any nature in the Equipment and all right, title and interest in the



•                   Equipment shall remain with the Buyer. From time to time at the
                    request of the Buyer and in connection with the Equipment, Seller
                    will execute one or more financing statements, information
                    statements and/or continuation statements pursuant to the Uniform
                    Commercial Code in such form or forms as Buyer may request for
                    filing in such public offices as Buyer shall determine.

           (b)       Buyer shall have the right to enter Seller's facilities in order to (i)
                     inspect the Equipment, (ii) inspect and copy all records relating to
                     the repair, maintenance and servicing by Seller of the Equipment
                     and (iii) affix tags, stickers or other items to the Equipment
                     indicating Buyer's status as owner thereof. Buyer shall be given
                 - --access to such facilities, on-reasonable-notice, during normal
                     business hours and at any other time when work is performed
                     pursuant to this Agreement.

           (c)      During the term of this Agreement, Seller shall (i) be responsible for
                    any damage to the Equipment, (ii) keep the attachments, security
                    interests or other claims that could affect title to the Equipment of
                    Buyer's interest therein, (iii) not modify or alter the Equipment in
                    any way, (iv) not remove, conceal or deface any tags, sticker or
                    other items affixed to the Equipment that indicate Buyer's status as



•                   owner thereof, (v) operate the Equipment in accordance with good
                    business practice and in compliance with all written and verbal
                    instructions provided to Seller and (vi) not use the Equipment for




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•              (d)
                     any purpose except to provide Products to Buyer pursuant to this
                     Agreement.

                     During the term of this agreement Buyer shall service, repair and
                     maintain (collectively, "Service") the Equipment as may be
                     necessary to keep the Equipment in good working order.

               (e)   Seller shall be responsible for training its employees to operate
                     properly the Equipment and shall supervise all operations thereof.
                     Seller shall be responsible for all personal damages or injuries and
                     for any damage to property or Equipment resulting from (i) Seller's
                     operation of the Equipment, (ii) Seller's failure to arrange with Buyer
                     for required Service of the Equipment or (iii) Seller's use of the
                     Equipment for any purpose other than as specifically contemplated
                     in this Agreement.

               (f)   In the event that this Agreement is terminated for any reason,
                     Buyer shall have the right to enter, upon reasonable notice and
                     during regular business hours, and shall be given access to,
                     Seller's facilities so that Buyer may retrieve the Equipment and all
                     records maintained in connection with the Equipment. Seller
                     agrees to cooperate with Buyer to ensure the timely and safe return




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                     of the Equipment to Buyer after termination of this Agreement.
                     Seller's obligations under this Section shall survive the termination
                     of this Agreement until the Equipment is returned to Buyer.

               (g)   Seller shall maintain insurance coverage in connection with its
                     operation of the Equipment as described in Annex C.

            IN WITNESS WHEREOF, the parties hereto have caused this Agreement
     to be executed by their duly authorized respective representatives as of the day
     and year first above written.

     LUZENAC AMERICA, INC.                              JOHNSON & JOHNSON
                                                        CON     R   MPANIES, INC .




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•                                        ANNEXC

                                INSURANCE COVERAGE


     Seller will obtain and maintain the following insurance coverage:

     •   Commercial general liability coverage in the amount of US$5 million

     •   Product liability insurance in the amount of US$5 million per occurrence,
         US$10 million aggregate

     Such policies shall name Buyer as an additional insured and shall provide for 30
     calendar days written notice of cancellation. Seller shall annually provide Buyer
     with a certificate of insurance evidencing required coverage .




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